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                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF FLORIDA
                                     (Gainesville Division)


UNITED STATES OF AMERICA )
                         )
          v.             )                                   Docket No. 1:06CR17-002
                         )
 TIMOTHY PAUL MCKEE      )



                                      ORDER

       This matter is before the Court on a petition alleging that the defendant violated the

conditions of his probation as outlined in Probation Form 12C filed with the Clerk of the U. S.

District Court for the Northern District of Florida, on May 29, 2008.

       Based on the defendant’s admission of guilt to the violation as outlined in the Petition, the

Court finds that the defendant violated the terms and conditions of his probation.

       IT IS HEREBY ORDERED that the defendant be continued on supervision under the same

terms and conditions. The sentence previously imposed shall remain in full force and effect.

       DONE AND ORDERED this 9th day of July, 2008, nunc pro tunc July 7, 2008.



                                                s/ Stephan P. Mickle
                                             Stephan P. Mickle
                                             United States District Judge
